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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  WESTERN DISTRICT OF OKLAHOMA


 STATE OF OKLAHOMA, et al.,                 )
                                            )
               Plaintiffs,                  )
                                            )
 -vs-                                       )     Case No. CIV-21-1136-F
                                            )
 JOSEPH R. BIDEN, JR., in his               )
 official capacity as President of the      )
 United States, et al.,                     )
                                            )
               Defendants.                  )


                  NOTICE TO THE PARTIES AND COUNSEL

        The court discloses for the record, and for consideration of the parties, the
facts described below, relating to the undersigned judge.
        The parties are advised that the undersigned district judge has a son who is an
officer on full-time active duty in the United States Air Force (regular Air Force).
His duties are operational rather than legal or medical in nature. There is no nexus
between his duties and the subject matter of this case. For that reason, this situation
does not amount to a relationship, or implicate any other interest, within the scope
of 28 U.S.C. § 455(b). However, it is conceivable that the circumstances described
in this notice are such that one of more of the parties to this action may be of the
opinion that the impartiality of the undersigned might reasonably be questioned,
within the meaning of 28 U.S.C. § 455(a). For that reason, and out of an abundance
of caution, the undersigned, by this notice, implements the remittal process
recommended by the Judicial Conference Committee on Codes of Conduct. Any
party which may wish to object to the continued participation in this case by the
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undersigned shall orally so inform the Clerk of Court, Carmelita Reeder Shinn (or,
in her absence, Chief Deputy William Pigott), of that fact as provided below. Any
such objection on the part of the plaintiffs shall be communicated as set forth above
not later than 2:00 p.m. on December 10, 2021. Any such objection on the part of
the defendants shall be communicated as set forth above not later than 2:00 p.m. on
the fifth calendar day after proof of service of this notice on the defendants (in all
respects compliant with the requirements of Rule 4, Fed. R. Civ. P.) is filed in this
case.
        The Clerk of Court or the Chief Deputy is instructed not to inform the
undersigned of the identity of any objecting party, but simply (and promptly) to
inform the court if any objection is received. If any party timely notifies the Clerk
of Court or the Chief Deputy of an objection, the undersigned will recuse and the
case will be returned to the draw for random reassignment to another judge.
        Dated this 6th day of December, 2021.




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